               Case 8:25-cv-00951-PX            Document 6-2           Filed 03/25/25     Page 1 of 2

Simon Sandoval-Moshenberg

From:                           Simon Sandoval-Moshenberg
Sent:                           Tuesday, March 25, 2025 10:49 AM
To:                             Bethune, Tianna (USAMD); Arnold, Ariana (USAMD); Nardone, Nicole (USAMD);
                                Deshields, Tarra (USAMD); Goldmeier, Melissa (USAMD); Richardson, Cathy (USAMD)
Subject:                        RE: Filing of emergency TRO motion in Abrego Garcia v. Noem, 8:25-cv-951-PX
Attachments:                    0004. (03-24-2025) Request for Hearing re [2] Emergency MOTION for Temporary
                                Restraining Order.pdf; 0005. (03-25-2025) LETTER ORDER denying without prejudice [2]
                                Motion for Temporary Restraining Order. Signed by Judge P.pdf; Renewed M.TRO.pdf;
                                Renewed M.TRO-- request for hearing.pdf; Renewed Prop.O.TRO.pdf

Importance:                     High


Tarra et al:

Good morning. Further to this matter, please ﬁnd attached hereto Docket Nos. 4 and 5; as well as a Renewed
Motion for TRO, Proposed Order, and Request for Hearing thereon.

Kindly advise as to the government’s position on this matter, and please let me know which attorney from your
o ice is handling this matter.

Thank you.


Best,



                                  Simon Sandoval-Moshenberg, Esq. |
                                  Partner
                                  Murray Osorio PLLC: Full-Service Immigration Law
                                  Fairfax, VA | Silver Spring, MD | Newark, NJ
                                  T: (703) 352-2399 | F: (703) 763-2304
                                  www.murrayosorio.com | Follow us on social media here




From: Simon Sandoval-Moshenberg
Sent: Monday, March 24, 2025 12:16 PM
To: Bethune, Tianna (USAMD) <Tianna.Bethune@usdoj.gov>; Arnold, Ariana (USAMD) <Ariana.Arnold@usdoj.gov>;
Nardone, Nicole (USAMD) <Nicole.Nardone@usdoj.gov>; Deshields, Tarra (USAMD) <Tarra.Deshields@usdoj.gov>;
Goldmeier, Melissa (USAMD) <Melissa.Goldmeier@usdoj.gov>; Richardson, Cathy (USAMD)
<Cathy.Richardson@usdoj.gov>
Subject: Filing of emergency TRO motion in Abrego Garcia v. Noem, 8:25-cv-951-AAQ
Importance: High

Apologies for the mass e-mail, I’m not sure to whom this should be directed. I’m emailing to advise your o ice of
the ﬁling of an emergency TRO motion in the matter of Abrego Garcia v. Noem, 8:25-cv-951-AAQ.


                                                            1
                Case 8:25-cv-00951-PX            Document 6-2           Filed 03/25/25     Page 2 of 2
Attached please ﬁnd the complaint, with all exhibits thereto; the TRO motion, and the proposed order thereto.

Kindly advise who will be handling this matter for your o ice.

Thank you.


Best,



                                   Simon Sandoval-Moshenberg, Esq. |
                                   Partner
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                                                             2
